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 5
                                UNITED STATES DISTRICT COURT
 6
                              CENTRAL DISTRICT OF CALIFORNIA
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 9   JESUS AVITIA, individually and as successor                  Case No.: 2:21-CV-04396 PA (MAA)
     in interest to Robert Avitia, deceased; and
10
     GABRIELA AVITIA, individually and as                         ORDER DISMISSING 42 U.S.C. §
11   successor in interest to Robert Avitia,                      1983 CLAIMS WITH
     deceased,                                                    PREJUDICE; DISMISSING
12
                            Plaintiffs,                           STATE CLAIMS WITHOUT
13                                                                PREJUDICE
     vs.
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15   COUNTY OF LOS ANGELES; and DOES 1-
16   10, inclusive,

17                          Defendants.
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20          Having review the parties’ Stipulation to Dismiss and finding good cause
21   therefor, the following is hereby ORDERED:
22          (1)     All federal claims in Plaintiffs’ First Amended Complaint shall be
23   dismissed with prejudice.
24          (2)     All state claims in Plaintiffs’ First Amended Complaint shall be
25   dismissed without prejudice.
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     ____________________________________________________________________________________________________________
                                                [PROPOSED] ORDER
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 1          (3)     Plaintiffs have thirty (30) days to refile state law claims in the Los
 2   Angeles County Superior Court upon this Court’s dismissal of said state law claims
 3   without prejudice.
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 5   IT IS SO ORDERED.
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      DATE: November 15, 2021
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                                                    _________________________________
 9                                                  Percy Anderson
10                                                  United States District Judge

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                                                [PROPOSED] ORDER
